 ATTORNEY DISCIPLINARY PROCEEDING PER CURIAM LThe Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent mishandled his client trust account and practiced law while ineligible to do so. Following the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline in which respondent admitted that his conduct violated Rules 1.15(a) and 5.5 of the Rules of Professional Conduct. Having reviewed the petition, IT IS ORDERED that the Petition for Consent Discipline be accepted and that Richard E. Smith, Louisiana Bar Roll number 27723, be suspended from the practice of law for a period of one year and one day. It is further ordered that all but sixty days of this suspension shall be deferred. Following completion of the active portion of the suspension, respondent shall successfully complete a two-year period of unsupervised probation governed by the conditions set forth in the petition for consent discipline. The probationary period shall commence from the date respondent and the ODC execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred portion of the suspension executory, or imposing additional discipline, as appropriate. IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.- 